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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WISCONSIN

SAMUEL UPTHEGROVE,

        Plaintiff,
                                                       Case No. 18-cv-847-wmc
   v.

CATHY JESS, JON LITSCHER,
KEVIN KALLAS, SCOTT ECKSTEIN,
STEVE SCHUELER, JOHN KIND,
RYAN BAUMANN, JAY VAN LANEN,
and KEVIN CARR,

        Defendants.


                               JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of defendants

dismissing this case.




        /s/                                               6/7/2021
        Peter Oppeneer, Clerk of Court                           Date
